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                              UNITED STATES DISTRICT COURT                                         JS-6
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.      CV 20-4965-JFW(AFMx)                                          Date: March 17, 2021

Title:        Lamar Myers -v- Ramos Brothers Partnership, et al.


PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                               None Present
              Courtroom Deputy                             Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                  ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                               None

PROCEEDINGS (IN CHAMBERS):              DISMISSAL OF ACTION FOR LACK OF
                                        PROSECUTION


      As a result of Plaintiff’s failure to serve the Summons and Complaint within 120 days after
the Complaint was filed, the Court hereby dismisses this action without prejudice. See Fed. R. Civ.
P. 4(m).


         IT IS SO ORDERED.




                                                                              Initials of Deputy Clerk sr
